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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 KHAMELL WILLIAMS, a minor, by and                  )
 through his mother, KATRINA SEPT,                  )
                                                    )
                                  Plaintiffs,       )   No.
                                                    )
                          v.                        )   Judge
                                                    )
 SINAI HEALTH SYSTEM and CHARLES                    )   Formerly Case No. 2019 L 000278
 E. LAMPLEY, M.D.,                                  )   Circuit Court of Cook County, Illinois
                                                    )
                                  Defendants.       )

                    NOTICE OF REMOVAL OF A CIVIL ACTION AND
                 SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:         Dorothy Brown                              Michele C. Anderson
              Clerk of the Circuit Court                 Hall Prangle & Schoonveld, LLC
              Richard J. Daley Center, Room 1001         200 South Wacker Drive, Suite 330
              50 West Washington Street                  Chicago, Illinois 60606
              Chicago, Illinois 60602

              James T. Ball
              120 South LaSalle Drive, Suite 1901
              Chicago, Illinois 60603

         The United States of America, by its attorney, John R. Lausch, Jr., United States Attorney

for the Northern District of Illinois, submits this notice of removal of the above-captioned civil

action from the Circuit Court of Cook County, Illinois, to the United States District Court,

Northern District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the

following:

         1.       On or about January 9, 2019, plaintiff Khamell Williams, a minor, by his mother,

Katrina Sept, commenced the above civil action in the Circuit Court of Cook County, Illinois,

against Sinai Health System and Charles E. Lampley, M.D., alleging medical malpractice. A copy

of the state court complaint is attached as Exhibit A. For purposes of this lawsuit, Access
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Community Health Network is a private entity that receives grant money from the Public Health

Service pursuant to 42 U.S.C. § 233. See Exhibit B. Dr. Edward Charles Lampley (improperly

named as “Charles E. Lampley, M.D.” in the state court complaint) was acting within the scope of

his employment at Access Community Health Network with respect to the incidents referred to in

the complaint. Id.

       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that Dr. Lampley was

acting within the scope of his employment at Access Community Health Network with respect to

the incidents referred to in the complaint. Id.

       3.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 42 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendant Dr. Lampley.




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       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of defendant Edward Charles Lampley, M.D.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Prashant Kolluri
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